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         ORDERED in the Southern District of Florida on June 21, 2018.




                                                        Erik P. Kimball, Judge
                                                        United States Bankruptcy Court
_____________________________________________________________________________
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION


        In re:                                        CASE NO.:15-29068-EPK
                                                      CHAPTER 7
        William B. Mills,

               Debtor.
        _________________________________________/

        Deborah Menotte, as Court Appointed
        Receiver for Real Estate & Management
        Group, LLC,

                 Plaintiff,

        v.                                            ADV. PROC. NO.: 18-01220-EPK

        NLJ Holding Company Florida, LLC,
        d/b/a Touch of Class Cleaners,

               Defendant.
        _________________________________________/

                              ORDER SETTING BRIEFING SCHEDULE
                              ON DEFENDANT’S MOTION TO DISMISS

                 THIS MATTER came before the Court upon the Defendant’s NLJ Holding Company

        Florida, LLC, d/b/a Touch of Class Cleaners, Motion to Dismiss Counts I and II of the
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Deborah Menotte’s Complaint to Avoid Fraudulent Transfers (the “Motion to Dismiss”) [ECF

No. 7] filed by NLJ Holding Company Florida, LLC (the “Defendant”). With the Court being

fully advised in the premises, it is hereby ORDERED AND ADJUDGED that:

       1.     Not later than 14 days after entry of this Order, Deborah Menotte, as Court

Appointed Receiver for Real Estate & Management Group, LLC, (the “Plaintiff”) may file and

serve on Defendant a response to the Motion to Dismiss along with a memorandum. The title

of Plaintiff's response shall reference the title of the original Motion to Dismiss. If the

Plaintiff fails to file a timely response, the Motion to Dismiss may be granted without further

notice or hearing.

       2.     If Plaintiff files a response to the Motion to Dismiss, not later than 21 days

after entry of this Order Defendant may file and serve on Plaintiff a reply along with a

memorandum. The title of the reply shall reference the title of the original Motion to Dismiss.

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Copies Furnished To:

Michael A. Nardella, Esq.


Michael A. Nardella, Esq. is directed to serve a conformed copy of this Order on all appropriate
parties and file a certificate of service.




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